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DAVID H. ANGELI, OSB No. 020244
david@angelilaw.com
PETER D. HAWKES, OSB No. 071986
peter@angelilaw.com
ANGELI LAW GROUP LLC
121 SW Morrison Street, Suite 400
Portland, OR 97204
Phone: (503) 954-2232

EDWARD B. DISKANT (pro hac vice)
ediskant@mwe.com
MCDERMOTT WILL & EMERY LLP
1 Vanderbilt Avenue
New York, NY 10017
Phone: (212) 547-5754

JAMES P. DURKIN (pro hac vice)
jdurkin@mwe.com
MCDERMOTT WILL & EMERY LLP
444 West Lake Street, Suite 4000
Chicago, IL 60606
Phone: (312) 984-2062
Attorneys for Treo Asset Management LLC and Treo NOAL GP


                     IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF OREGON

                                 PORTLAND DIVISION

In re:                                                     Case No.: 3:23-mc-82-IM

                                             Intervenors Treo Asset Management LLC
PETITION OF NOVALPINA CAPITAL                                   and Treo NOAL GP’s
PARTNERS I GP S.À.R.L. FOR                  REPLY MEMORANDUM OF LAW IN
JUDICIAL ASSISTANCE PURSUANT                         SUPPORT OF MOTION FOR
TO 28 U.S.C. § 1782                                 RECONSIDERATION OF THE
                                                    GRANT OF NOVALPINA GP’S
                                                            PETITION OR, IN THE
                                                ALTERNATIVE, TO AMEND THE
                                                            PROTECTIVE ORDER
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       In opposing reconsideration, Petitioner Novalpina Capital Partners I GP S.a.r.l.

(“Novalpina GP”) contends principally that reconsideration is not proper here because the “federal

rules allow documents to be shared and used in other litigation by default” and therefore

Petitioner’s subsequent use of documents produced does not warrant reversing the Court’s grant

of the Petition. But whatever currency that position might have in other cases, here the parties

expressly raised concerns that Petitioner might use documents produced in this matter in litigations

other than the two identified in the Petition, and in response to those concerns, Petitioner, through

counsel, repeatedly and unequivocally assured this Court that such misuse would not occur.

Moreover, the restriction on the use of documents produced – and the concern of misuse of the

same – was reinforced after the Petition was granted, with counsel for Respondents seeking and

the Court entering a protective order reasonably understood by Respondents to reinforce, not undo,

the repeated representations made by Petitioner to the Court about how confidential documents

produced in discovery would be used.1

       Indeed, while labeling Treo’s motion a “conspiracy theory,” Petitioner does not and cannot

dispute the essential facts warranting reconsideration: Petitioner told the Court one thing in seeking

relief, and then turned around and did the exact opposite.           That is a classic ground for

reconsideration and it warrants reconsideration here.




1
  While the instant filing focuses principally on Treo’s motion for reconsideration, it bears
reiteration that Treo was not involved in the drafting or negotiation of language in the existing
Protective Order. It is thus disingenuous at best for Petitioner to suggest that Treo’s concerns can
be dismissed as mere dissatisfaction with “the agreed Protective Order.” (Br. at 10.) “Br.” refers to
Petitioner’s Opposition at Dkt. No. 56.
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       I.      Petitioner’s Misuse of Highly Confidential Documents Constitutes “Newly
               Discovered Evidence”

       First, Petitioner’s misuse of documents produced – sharing them with multiple non-parties

and using them in additional litigations, including the matter referred to as “Summons 4”2 –

constitutes “newly discovered evidence” warranting reconsideration. See Seeley v. Portland Pub.

Sch., No. 3:23-CV-386-SI, 2023 WL 8622357, at *2 (D. Or. Dec. 13, 2023) (citing Jones v.

Aero/Chem Corp., 921 F.2d 875, 878 (9th Cir. 1990)). Notably, Petitioner does not dispute that (1)

it shared confidential documents with two non-parties, Stefan Kowski and Novalpina FP, or (2) that

confidential documents have been used by Kowski, Novalpina FP, and Petitioner itself in three

litigations, including the Summons 4 litigation that Petitioner expressly and repeatedly assured the

Court was not within the scope of the Petition. Instead, Petitioner tries to deny that it “promised this

Court that the documents would not be used in other proceedings.” (Br. at 3.) That claim does not

withstand scrutiny; Petitioner repeatedly disclaimed any intent to use documents in the mix of other

litigation pending abroad, doing so in its petition (Dkt. 2 at 14–15); in argument before the Court

(Dkt. 25 at 9:24–11:18); and its reply brief (Dkt. 30 at 4). Notably it did so in direct response to

arguments raised by Treo and Respondents about this very issue – i.e., the likelihood that

documents sought would be used in matters other than the two identified in the Petition.

       Alternatively, Petitioner argues that it could “not know what statements would be made, in

which proceeding, by whom, or whether the documents produced by Respondents would directly

contradict statements made by Treo in those proceedings.” (Br. at 8.) But even if such an argument



2
  A more complete description of the Summons 4 litigation is already before the Court as set
forth in the original declaration of Paulo Lopes da Silva and Treo’s original brief in opposition to
the Petition. (Dkt. 29 at 4–5; Dkt. 28 at 7–8). It is also briefly addressed in the current Lopes da
Silva declaration as relevant to claims made in Petitioner’s brief in opposition. (da Silva Decl. at
¶¶ 5–6.)
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is credited, that could have been Petitioner’s position in seeking discovery, i.e., Petitioner could have

told this Court either in its application or in response to direct questioning on this subject that it

sought use of documents in all of the various pending foreign proceedings because it simply could

not know what it might receive. Notably, two of the three additional litigations in which documents

produced have been misused3 were already pending at the time the Petition was filed and the third –

referred to as the Breach of Loyalty Claim – was commenced in March 2023, or shortly after the

Petition was filed and several months before the parties’ appearance before the Court or ensuing

briefing. (da Silva Decl. ¶¶ 3–4.) All three matters were thus fully known to Petitioner prior to this

Court’s ruling on the Petition. And yet that was decidedly not Petitioner’s position – indeed

Petitioner expressly and repeatedly disclaimed such a position – and that cannot have been

accidental. Not only did it happen too frequently and repeatedly, but as discussed in Treo’s opening

brief and in detail below, Petitioner’s application would have faced considerable additional

headwinds if Petitioner had candidly acknowledged its intent to use documents in the broader array

of foreign litigation.

        And while Petitioner dismisses Treo’s very legitimate concerns that Petitioner intended all

along to misuse documents obtained as a “conspiracy theory,” (Br. at 7–8) the facts tell a very

different story: in particular, Petitioner appears to have shared these highly confidential documents

with non-parties immediately upon receiving them, strongly suggesting it was their intent to do so

all along. Petitioner contends that Kowski is “a key fact witness” and thus that it is “unreasonable


3
  The two already pending were Summons 4, in which Petitioner itself has used documents, and
the litigation commenced against Stefan Kowski in his individual capacity over his role in
authorizing payment of a €1 million bribe, using Fund assets, in connection with the acquisition
of LXO. Because Petitioner deeply mischaracterizes the facts surrounding that litigation in its
brief in opposition and the misuse of documents in connection with the same, (Br. at 5), a more
accurate and complete account is provided in the accompanying declaration of Paulo da Silva.
(See generally da Silva Decl.)
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that Novalpina GP should be required to prepare its claim and defenses” without consulting with

him. (Br. at 15.) Petitioner fails to provide any details of the process under which the documents

were shared with Kowski, or whether he was informed of, and acknowledged, his obligations under

the Protective Order. See Dkt. 36 at 6 (“Use or disclosure of Protected Material shall be restricted

solely to the following persons, who agree to be bound by the terms of this Order . . . .”) (emphasis

added). Nor is there any explanation of Kowski’s relevance as a “key fact witness.” Notably,

Kowski has yet to appear as a fact witness in any of the myriad litigations in which Novalpina GP

appears as a party. (da Silva Decl. ¶¶ 9–10.) But even accepting the premise, allowing a “key fact

witness” to review documents to assist Petitioner in bringing its claims (or raising its defenses) is a

far cry from handing over an entire production of confidential documents to that “fact witness” and

his counsel for personal use by that fact witness in litigation as to which Petitioner is not even a

party. That, of course, is what has occurred here and is highly improper.4

       Moreover, Petitioner’s own brief strongly suggests that its intention to provide documents to

non-parties for use in other litigation was long-standing, intentional and calculated. Indeed, by its

own account, Petitioner (without explaining to Respondents’ counsel what it was doing)

intentionally edited the Protective Order in such a way that – as Petitioner would have it – allows it

to make much broader use of the documents than it sought in the Petition or represented to the Court.

Petitioner’s edits expanded the protective order in two key ways, both directly relevant to the instant

motion. First, by changing Sections 4.1(b), 4.1(c), and 4.2 from “litigation relating to this Petition”

to “litigation relating to the events described in this Petition” Petitioner now claims that it can use


4
  Alternatively, Petitioner tries to contend that the documents were used “privately” in the
various foreign proceedings in communications between counsel rather than having (yet) been
attached to court filings. But leaving aside that the use remains improper and beyond the scope
of the Petition, the primary purpose of Treo raising these concerns with the Court now is to
prevent even further misuse of the documents produced by Respondent.
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documents in litigation like Summons 4, despite having expressly told the Court just the opposite.

(See Dkt. 52 at 6.) Second, it expanded the universe of persons with access to the documents

produced to include “direct or indirect shareholder, associate or affiliate” – language it now relies

upon as authorizing the sharing of documents with non-parties like Kowski. (Id. at 5, 14.) That is

not a “conspiracy theory”; those are the facts as Petitioner describes them and they strongly suggest

that Petitioner intended all along to make far broader use of the discovery it obtained than it led the

Court to believe. Notably, despite the passage of more than 15 months since the filing of the Petition,

and while having had documents from Respondents for nearly six months at this point, Petitioner

still has yet to commence the contemplated fraud claim and did not – until May 23, 2024, or well

after Treo and Respondents had drawn these facts to this Court’s attention – make use of a single

document produced in the Veto Right Claim.5 And while Petitioner contends that the above is

“totally irrelevant,” to the contrary it is probative of Petitioner’s intent in seeking the documents and

the accuracy of the information provided to this Court in connection with the original application.6

        In sum, Petitioner’s misuse of documents in a manner directly contrary to its representations

to this Court constitutes “newly discovered evidence” that warrants reconsideration.


5
  Moreover, as set forth more fully in the attached declaration of Paulo da Silva, even the belated
recent use of materials in the Veto Right Claim litigation is questionable given that none of the
documents used appear to have any actual relevance to the case or issues in dispute in that
matter. (da Silva Decl. ¶ 15.) Unsurprisingly, they certainly do not contain the sort of “stunning
revelations” Petitioner contends prompted the need for their use in other, undisclosed matters.
6
  More generally, and with the benefit of hindsight, Petitioner’s prospective fraud claim seems
almost too good to be true – a claim that had not yet been brought (and thus could not be
responded to in specificity) and yet so broad in scope as to capture information and allegations
relevant to other, existing litigations. Indeed, Petitioner’s own description of its subpoena as
seeking “evidence that Treo and the LPAC had lied” and of “corruption in management of the
Fund” (Dkt. 56 at 2) could at some level apply to any of the pending litigations between the
parties in various foreign jurisdictions, making it all the more notable that Petitioner (i) still has
done nothing to advance such a claim, and (ii) expressly disclaimed its intent to do what it has
since – i.e., misuse documents obtained in other proceedings.
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       II.     The “Newly Discovered Evidence” is Material to the Court’s Decision and
               Likely to Have Changed the Outcome

       Alternatively, Petitioner contends that Treo cannot establish that the new information above

is likely to have changed the disposition of the case. While Treo would not presume to tell this Court

what was or was not relevant to its consideration of the Petition, we note at the outset that the issue

of where the discovery sought would be used – and whether Respondents were parties to those

actions – were among the issues the Court specifically asked about at the parties’ only appearance

on this matter. (See Dkt 25 at 9:24–10:10). These were also, as discussed herein, facts repeatedly

referred to (and seemingly relied upon) in the Court’s written opinion. That alone strongly suggests

that reconsideration is warranted in light of the newly discovered evidence summarized above and

in Treo’s opening brief.

       In particular, as Petitioner concedes, the new information is relevant to consideration of the

first Intel factor – i.e., whether the person from whom discovery is sought is a participant in the

foreign proceeding. Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 264 (2004). Here,

Respondent Langdon is a party to Summons 4, one of the cases in which highly confidential

documents have been misused since their production, and that was among the contexts in which

Petitioner expressly – and falsely – represented to this Court that it would not use documents outside

of the two litigations identified in the Petition. The Court appears to have understandably relied

upon those representations. Dkt. 32 at 5 (granting discovery because “Langdon and Read are not

parties to the proceeding for which discovery is sought, so the information cannot be obtained

directly through that proceeding.”) (emphasis added).

       But Intel requires consideration of a broader range of factors, including whether the

application “conceals an attempt to circumvent foreign proof-gathering restrictions or other

policies of a foreign country or the United States.” Intel, 542 U.S. at 265. Here, with respect to
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Summons 4, as noted in Treo’s opening brief – and its briefing in opposition to the original Petition

– Novalpina GP has already made a discovery request of the court in Luxembourg overseeing the

Summons 4 litigation that seeks from Michael Langdon much of what is sought in the Petition.

(Dkt. 50, ¶ 5.) The Court in Luxembourg – the forum Petitioner selected through a binding forum

selection clause in the Limited Partnership Agreement it drafted – has not acted on that request

and Petitioner, having grown impatient, has effectively asked this Court to order what the

Luxembourg Court overseeing the case has, at least to date, not done. That is precisely the sort of

improper conduct that leads courts to deny Section 1782 requests (Dkt. 28 at 8–11), and was

another context in which Petitioner assured this Court it would not use the requested materials in

Summons 4. It was also relied upon in the Court’s finding that this third Intel factor did not weigh

against the Petition. See Dkt. 32 at 7, n.2 (“As noted above, Langdon and Read are not parties to

the proceeding for which this discovery is sought. This Court accordingly does not view the

petition as an attempt to circumvent the LPA’s forum selection clause, but rather an attempt to

obtain information from foreign individuals who reside in this District, as directly contemplated

by section 1782.”) (emphasis added).

       Moreover, the Court had no opportunity to consider even the possibility that documents

produced by Respondent would be used by different litigants in different forums, facts that bear

directly on both the statutory and discretionary factors relevant to a Section 1782 Petition.

Petitioner dismisses those concerns, arguing that “federal discovery rules allow documents to be

shared and used in other litigation by default” and cites cases in which Courts permitted petitioners

to use documents obtained for one foreign proceeding to use them in others. (Br. at 7.) But none

of those cases involved the facts present here – that is, uses that are directly contrary to express

representations made by the petitioners in seeking discovery.

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        For example, in JSC MCC EuroChem v. Chauhan, No. 3:17-MC-00005, 2018 WL

3872197, at *7 (M.D. Tenn. Aug. 15, 2018), cited by Petitioner, the court denied a motion for

reconsideration where the petitioner, having obtained discovery for one foreign proceeding, used

it in another, noting that the respondent had been aware of the pendency of the other proceedings

at the time of the original petition and thus “had the opportunity to raise the issue . . . in his original

briefing.” Id. at *7. Here, of course, Treo did raise the issue of use in other matters, including

Summons 4, in its original briefing, which was the context in which Petitioner provided answers

that were inaccurate. Similarly, in Johnson Foils, Inc. v. Huyck Corp., 61 F.R.D. 405, 410

(N.D.N.Y. 1973) relied upon by Petitioner, the court left open the possibility that use of documents

in proceedings other than those identified in a petition might be improper where “it can be shown

that the discovering party is exploiting the instant litigation solely to assist in other litigation before

a foreign forum.”

        Here, Petitioner appears to be doing just that, having, among other things, immediately

provided those documents to non-parties for use in other litigations in other foreign forums. Cf.

Fed. Republic of Nigeria v. VR Advisory Servs., Ltd., 27 F.4th 136, 159 n.6 (2d Cir. 2022) (noting

that denial of a Section 1782 Petition would be appropriate if the foreign litigation cited was

“pretextual” but making no such finding there because petitioner “promptly used [the discovery]

in [the relied upon] proceeding as soon as it obtained them”). Notably, one of those non-parties –

Kowski – is not only completely unaffiliated with Petitioner at this point but subject to both

criminal and regulatory investigation, (e.g., da Silva Decl. at ¶¶ 9–10), facts that might well weigh

on the Court’s evaluation of whether he should be entitled to confidential state documents.

Moreover, as noted above, Kowski’s use of discovery produced has not been in his capacity as an




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indirect shareholder of Novalpina GP, but to defend against claims in his individual capacity. (Dkt.

49, ¶ 3.)

        Moreover, as Petitioner’s opposition itself makes clear, Kowski has derived a substantial

benefit by not pursuing Section 1782 relief in his own name. In particular, as Petitioner would

have it, because Kowski is not a party to this matter he remains beyond the reach of this Court (or

a reciprocal discovery order) since this “Court does not acquire jurisdiction over Mr. Kowski

simply because he has used documents produced in the United States.” (Br. at 16–17.) As an

initial matter, this is untrue – to the extent Kowski was permitted to receive documents under the

terms of the Protective Order (as Petitioner maintains), Kowski was required to agree to abide by

that Order, see Dkt. 36 at 6, and is thus squarely within this Court’s authority. But perhaps more

important, for present purposes, no such argument could be made if Kowski had been required to

seek discovery himself for his personal use in litigations as to which Novalpina GP is not a party.7

        More generally, serious questions about the accuracy of representations made to the Court

by Petitioner in seeking relief warrants revisiting the decision to grant the same. And while there

may not be many cases granting motions for reconsideration of Section 1782 Petitions generally,

where a Court has relied on inaccurate information, a motion for reconsideration is an appropriate

mechanism for remedying that harm. See, e.g., In re Levander, 180 F.3d 1114, 1120 & n.5 (9th Cir.

1999); In re Meridian Sunrise Vill., LLC, No. 13-05503 RBL, 2014 WL 1744166, at *2 (W.D.

Wash. Apr. 30, 2014) (“Relief from judgment under Rule 60(b) is appropriate to correct judgments

that rely on false or misleading testimony.”).



7
  At a minimum, given Petitioner’s position that Kowski is an “interested party” and a “key fact
witness,” the Court should grant Respondents’ request for reciprocal discovery and order the
deposition of Kowski. (Dkt. 52 at 14, Dkt. 56 at 15.) Petitioner’s contention that Respondents
failed to attach document requests (Dkt. 52 at 16 n.1) overlooks Exhibit A to their filing.
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       To be clear, the documents produced by Respondents did not contain “stunning

revelations.” (Br. at 8.) They certainly do not support any baseless claim that Respondents or

Treo “lied” in any foreign litigation or to any foreign tribunal.8 But in a universe where document

discovery is not generally permitted – and thus Petitioner (and now Kowski and others) alone get

to weaponize documents taken out of context – the risk of abuse is both enormous and self-evident.

That is precisely why both the statute and the Supreme Court have imposed parameters around

when Section 1782 relief should be available, to ensure that U.S. courts are not being used to

supplant foreign courts presiding over foreign litigations. It is also why both the statute and

precedent dictate that a court consider a series of factors relevant to how the documents sought

will be used before granting a Petition. Petitioner’s conduct here effectively deprived this Court

of that opportunity which is why reconsideration is appropriate.

                                          CONCLUSION

               For the foregoing reasons, Treo respectfully requests the Court (1) reconsider its

order granting Novalpina GP’s Petition; or, in the alternative (2) modify the existing Protective Order

to limit use to (i) Novalpina GP, its current employees, and its current counsel; and (ii) in the Veto

Right Litigation and the prospective fraud claim (should one ever be brought); and (3) order that

Petitioner take sufficient steps to claw back any documents previously shared with Kowski,

Novalpina FP, or any other party.


8
  Just by way of example, Petitioner contends that documents produced by Respondent showed
that Treo had made “false” statements in connection with the litigation of Kowski’s role in
facilitating a €1 million bribe in connection with the acquisition of LXO, a payment Petitioner
disingenuously labels a “success fee.” Leaving aside that “success fee” was paid to a French
banker via a shell entity in the Middle East and to an account in Puerto Rico at a bank that has
since been shut down by U.S. law enforcement, the document misused by Kowski and Petitioner
intentionally overlooks other documents in the same production which make very clear that
Treo’s position in the instant litigation is entirely accurate and abundantly supported by Langdon
and Treo’s emails.
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     DATED: May 24, 2024

                                       ANGELI LAW GROUP LLC

                                       s/ Peter D. Hawkes
                                       David H. Angeli, OSB No. 020244
                                       david@angelilaw.com
                                       Peter D. Hawkes, OSB No. 071986
                                       peter@angelilaw.com
                                       121 SW Morrison Street, Suite 400
                                       Portland, OR 97204
                                       Telephone: (503) 954-2232
                                       Facsimile: (503) 227-0880

                                           MCDERMOTT WILL & EMERY LLP

                                       s/ Edward B. Diskant
                                       Edward B. Diskant (pro hac vice)
                                       ediskant@mwe.com
                                       MCDERMOTT WILL & EMERY LLP
                                       1 Vanderbilt Avenue
                                       New York, NY 10017
                                       (212) 547-5754 (office)

                                       s/ James P. Durkin
                                       James P. Durkin (pro hac vice)
                                       jdurkin@mwe.com
                                       MCDERMOTT WILL & EMERY LLP
                                       444 West Lake Street, Suite 4000
                                       Chicago, IL 60606
                                       (312) 984-2062 (office)

                                       Attorneys for Treo Asset Management LLC
                                       and Treo NOAL GP




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